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SYLVESTER & POLEDNAK, LTD. E-Filed: February 25, 2021
JEFFREY R. SYLVESTER, ESQ.
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Attorneys for Creditor

Black Mountain Point Association

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF NEVADA

In re: Case No.: BK-S-21-10690-NMC
Chapter 11
GATA II, LLC

Debtor(s).

 

NOTICE OF APPEARANCE AND REQUEST FOR SPECIAL NOTICE
AND COPIES OF ALL FILED PLANS AND DISCLOSURE STATEMENTS
[F.R.B.P. 9010(b), 2002 and 3017(a)]

Jeffrey R. Sylvester, Esq. and Matthew T. Kneeland, Esq., of the law firm of Sylvester &
Polednak, Ltd., attorneys for Creditor Black Mountain Point Association (‘Creditor’), hereby
enters its appearance on the record in the above-entitled bankruptcy proceeding pursuant to
Bankruptcy Rule 9010(b) and pursuant to Bankruptcy Rule 2002 and 3017(a) hereby requests
special notice of all hearings, actions, contested matters, and adversary proceedings in this case,
together with copies of all notices, pleadings, motions, responses, and other related materials that
are issued or filed in connection with these proceedings by the Court, Debtor, or other parties in
interest, including copies of all plans of reorganization and disclosure statements.

All notices and copies in response to the foregoing, and, pursuant to Bankruptcy Rule

2002, required to be mailed to Claimant/Creditor, pursuant to Bankruptcy Rule 2002, should be
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directed to:

JEFFREY R. SYLVESTER, ESQ,
MATTHEW T. KNEELAND, ESQ,
SYLVESTER & POLEDNAK, LTD.
1731 Village Center Circle

Las Vegas, Nevada 89134

Email: Jeff@SylvesterPolednak.com
Email: Matthew@SylvesterPolednak.com

Neither this paper nor any subsequent appearance, pleading, claim, proof of claim,
document, suit, motion, nor any other writing or conduct, shall (i) expressly or impliedly
designate the undersigned as agent for service of process on Claimant/Creditor, or (ii) constitute
a waiver of any of the following rights of Claimant/Creditor:

(a) Right to have any and all final orders in any and all non-core matters entered only

after de novo review by United States District Court Judge;

 

(b) _ Right to trial by jury in any proceeding as to any and all matters so triable herein,
whether or not the same be designated legal or private rights, or in any case, controversy or
proceeding relating hereto, notwithstanding the designation val non of such matters as “core
proceedings” pursuant to 28 U.S.C. §157(b)(2)(H), and whether such jury trial right is pursuant

to statute or the United States Constitution;

(c) Right to have the reference of this matter withdrawn by the United States District
Court in any matter or proceeding subject only to mandatory or discretionary withdrawal; and

(d) Other rights, claims, actions, defenses, setoffs, recoupments, or other matters to
which this party is entitled under any agreements or at law or in equity or under the United States

Constitution.

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All of the above rights are expressly reserved and preserved unto Claimant/Creditor,

without exception and with no purpose of confessing or conceding jurisdiction in any way by

this filing or by any other participation in the above-captioned case and ancillary proceedings.

DATED this 25" day of February, 2021.

SYLVESTER & POLEDNAK, LTD.

By_/s/ Matthew T. Kneeland
Jeffrey R. Sylvester, Esq.
Matthew T. Kneeland, Esq.
1731 Village Center Circle
Las Vegas, Nevada 89134
Attorneys for Creditor
Black Mountain Point Association

 

 
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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on the 25" day of February, 2021, I served a copies of the
above and foregoing, via ELECTRONIC SERVICE CM/ECF System, where an email address is
provided and by depositing the same in the United States Mail, first class, postage prepaid,

addressed to those not electronically mailed.

/s/ Bridget Williams
An Employee of Sylvester & Polednak, Ltd.

 

 
